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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DOROTHY CARPENTER,                  )
                                    )
          PLAINTIFF,                )
                                    )
          v.                        )
                                    )                           Case No. 18-cv-05710
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
                                    )
          DEFENDANT.                )                           Jury Demanded

                                           COMPLAINT

         Plaintiff, Dorothy Carpenter, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and alleges:

                                 JURISDICTION AND VENUE

         1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA and 28 U.S.C.

§1331.

         2.     Venue is proper in this District because parts of the acts and transactions occurred

here and Defendant transacts substantial business here.

                                            STANDING

         3.     Defendant attempted to collect a debt that was not owed and communicated false

information to a third party, harming Plaintiff’s reputation.

         4.     Plaintiff has suffered an injury as a result of Defendant’s conduct, giving rise to

standing before this Court. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1544 (2016), quoting Lujan

v. Defenders of Wildlife, 504 U.S. 555, 580 (1992) (Congress has the power to define injuries

and articulate chains of causation that will give rise to a case or controversy where none existed

before.); Bellwood v. Dwivedi, 895 F.2d 1521, 2526-27 (7th Cir. 1990) (“Congress can create




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new substantive rights, such as a right to be free from misrepresentations, and if that right is

invaded the holder of the right can sue without running afoul of Article III, even if he incurs no

other injury[.]”).

                                              PARTIES

        5.      Plaintiff, Dorothy Carpenter (“Plaintiff’), is a resident of the State of Illinois, from

whom Defendant attempted to collect a delinquent consumer debt allegedly owed for a defaulted

Capital One Bank USA N.A. credit card account. Plaintiff is thus a “consumer” as that term is

defined in 15 U.S.C. § 1692a(3) of the FDCPA.

         6.     Defendant Portfolio Recovery Associates, LLC, (“PRA”), is a Delaware limited

liability company that acts as a debt collector, as defined by § 1692a of the FDCPA, because it

regularly uses the mails and/or telephone to collect, or attempt to collect, directly or indirectly,

defaulted consumer debts. Defendant operates a nationwide delinquent debt collection business,

and attempts to collect debts from consumers in virtually every state, including consumers in the

State of Illinois

         7.     PRA is authorized to conduct business in Illinois, and maintains a registered agent

at Illinois Corporation Service Co, 801 Adlai Stevenson Drive, Springfield, IL 62703. (Exhibit

A, Record from the Illinois Secretary of State).

         8.     PRA is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

         9.     PRA holds a collection agency license from the state of Illinois. (Exhibit B,

Record from Illinois Department of Financial & Professional Regulation).

         10.    PRA’s primary business is the purchase, collection and management of portfolios

of nonperforming loans that have been charged-off by the credit grantor. See PRA Group, Inc.,




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Annual Report (2016 Form 10-K), at 5, available at http://ir.pragroup.com/annuals-proxies.cfm

(viewed Sep. 22, 2017).

        11.    The principal purpose of PRA’s business is the collection of debts, as it does not

receive any significant revenue from other operations. Id.

        12.    PRA is thus a “debt collector” as defined in 15 U.S.C. § 1692a(6) of the FDCPA.

                                  FACTUAL ALLEGATIONS

        13.    According to Defendant, Plaintiff incurred an alleged debt for goods and services

used for personal purposes, originally for a Capital One Bank USA N.A. consumer credit card

account (“alleged debt”). The alleged debt is thus a “debt” as that term is defined at § 1692a(5)

of the FDCPA.

        14.    PRA subsequently purchased the alleged debt and began its collection efforts.

        15.    In March of 2018, PRA communicated credit information regarding the alleged

debt to the Experian consumer reporting agency, including an account number, the date reported,

and a balance due of $7,483. (Exhibit C, Redacted Excerpt from Plaintiff’s Experian Report).

        16.    Credit reporting by a debt collector constitutes an attempt to collect a debt. E.g.,

Rivera v. Bank One, 145 F.R.D. 614, 623 (D.P.R. 1993) (a creditor’s report of a debt to a

consumer reporting agency is a “powerful tool, designed in part to wrench compliance with

payment terms from its cardholder”).

        17.    Plaintiff does not owe any debt to Portfolio Recovery Associates.

        18.    In response to collection attempts by Defendant, Plaintiff consulted with the

attorneys at Community Lawyers Group, Ltd., who, on March 12, 2018, sent a letter to PRA

indicating that Plaintiff disputed the alleged debt. (Exhibit D, Dispute Letter).

        19.    PRA received Plaintiff’s dispute on March 12, 2018.




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         20.     On April 13, 2018, PRA sent a letter to Plaintiff in response to Plaintiff’s dispute

letter. (“Cancellation Letter”). (Exhibit E, Cancellation Letter).

         21.     The Cancellation Letter confirms that no debt is owed to PRA and states, in

relevant part:

                 “Portfolio Recovery Associates, LLC (“PRA, LLC”) has concluded its
                 investigation of your dispute and is closing your account.”

         22.     Defendant closed Plaintiff’s account because Plaintiff never owed the alleged

debt.

         23.     PRA should not have attempted to collect the alleged debt at all.

         24.     15 U.S.C. § 1692eof the FDCPA provides as follows:

                 False or Misleading Representations

                 A debt collector may not use any false, deceptive, or misleading
                 representation or means in connection with the collection of any debt.
                 Without limiting the general application of the foregoing, the following
                 conduct is a violation of this section:

                 (2)The false representation of—
                        (A) the character, amount, or legal status of any debt;

                 (5) The threat to take any action that cannot legally be taken or that is not
                 intended to be taken.

         25.     PRA falsely misrepresented the character and amount of a debt when it attempted

to collect the alleged debt from Plaintiff, which Plaintiff did not owe, in violation of 15 U.S.C.

§§ 1692e(2).

         26.     PRA threatened to take an action that cannot legally be taken when it attempted to

collect $7,483.00 for a Capital One Bank USA N.A. debt which Plaintiff did not owe to PRA, in

violation of 15 U.S.C. §§ 1692e(5).




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        27.    PRA’s communications caused Plaintiff to experience negative emotions,

including annoyance, aggravation, and other garden variety emotional distress.

        28.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership, 27 F.3d

1254, 1257 (7th Cir. 1994).

                 COUNT I- FAIR DEBT COLLECTION PRACTICES ACT

        29.    Plaintiff re-alleges the paragraphs above as if set forth fully in this count.

        30.    PRA falsely misrepresented the character and amount of a debt when it attempted

to collect the alleged debt from Plaintiff, which Plaintiff did not owe, in violation of 15 U.S.C.

§§ 1692e(2).

        31.    PRA threatened to take an action that cannot legally be taken when it attempted to

collect $7,483.00 for a Capital One Bank USA N.A. debt which Plaintiff did not owe, in

violation of 15 U.S.C. §§ 1692e(5).

       WHEREFORE, Plaintiff respectfully asks this Court enter judgment in Plaintiff’s favor

and against Defendant as follows:

                       A.      Actual damages pursuant to 15 U.S.C. § 1692d(a)(1);

                       B.      Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2);

                       C.      Costs and reasonable attorney fees pursuant to 15 U.S.C. §
                               1692k(a)(3); and

                       D.      Such other or further relief as the Court deems proper.



                                         JURY DEMAND

                                  Plaintiff demands trial by jury.




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                                            By: s/Celetha Chatman
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